AO 245B (Rev. 3/95) Sheet 1 - Judgment in a Criminal Case

 

Gnited States District Court

Eastern District of North Carolina -Southern Division

UNITED STATES OF AMERICA
Vv

Gary Edward Nixon

THE DEFENDANT:
ix!

pleaded guilty to count(s)

pleaded nolo contendere to count(s)

JUDGMENT IN A CRIMINAL CASE

(For Offenses Committed On or After November 1, 1987)
Case Number: 7:04CR00085-001

Sue G. Berry

Defendant's Attorney

1 - Superseding Indictment

 

which was accepted by the court.

LI
was found guilty on count(s)

 

LL after a plea of not guilty.
Title & Section

21 U.S.C. § 846

Nature of Offense

conspiracy to distribute and to possess with intent to

Date Offense Count
Concluded Number(s)

05/02/2004 1

distribute more 5 grams of cocaine base (crack)
-21:841(a)(1)

The defendant is sentenced as provided in pages 2 through __6 of this judgment. The sentence is imposed pursuant

to the Sentencing Reform Act of 1984, excluding 18:3553(b (1)

(| The defendant has been found not guilty on count(s)

[x] Count(s) Orig. Indict & 2-8Sup.Indict.

and 18:3742(e).

 

are dismissed on the motion of the United States.

 

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of
any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this

judgment are fully paid.

Defendant's Soc. Sec. No.:
Defendant's Date of Birth:

fio,

03/28/2005

Date of Imposition of Judgment

 

Defendant's USM No.: 21564-056
Defendant's Residence Address:

SEO
oy WK

 

 

 

 

 

 

 

iffature of Judicial Officer - Wy SS
eo
Wilmington NC JAMES C. FOX os Ny
UNITED STATES DISTRICT JUDGE
Defendant's Mailing Address: Name & Title of Judicial Officer
: 3-3% -OD
Wilmington NC Date

 

 

Case 7:04-cr-00085-FL

Document 121 Filed 03/28/05 Page 1 of 6

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AO 245B (Rev. 3/95) Sheet 2 - Imprisonment

Judgment-Page 2 of 6
DEFENDANT: Gary Edward Nixon

CASE NUMBER: 7:04CR000385-001

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
atotaltermof 158 month(s) .

hx] The court makes the following recommendations to the Bureau of Prisons:

The Court recommends that the defendant receive substance abuse treatment and vocational training while incarcerated.
The court further recommends that the defendant be allowed to serve his sentence at FCI- Butner, N.C.

x] The defendant is remanded to the custody of the United States Marshal.

|_| The defendant shall surrender to the United States Marshal for this district:

[| at a.m./p.m. on ;
{_] as notified by the United States Marshal.

[ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

[| before 2 p.m. on

 

[_] as notified by the United States Marshal.
[| as notified by the Probation or Pretrial Services Office.

 

 

 

 

 

RETURN
| have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.

 

UNITED STATES MARSHAL

 

By
Deputy U.S. Marshal

Case 7:04-cr-00085-FL Document 121 Filed 03/28/05 Page 2 of 6
AO 245B (Rev. 3/95) Sheet 3 - Supervised Release

 

Judgment-Page 3 of 6

DEFENDANT: Gary Edward Nixon
CASE NUMBER: 7:04CR00085-001
SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 5 year(s).

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.
The defendant shail not illegally possess a controlled substance.
For offenses committed on or after September 13, 1994:

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one
drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as directed by
the probation officer.

The above drug testing condition is suspended based on the court's determination that the defendant poses
a low risk of future substance abuse. (Check, if applicable.)

Ix The defendant shall not possess a firearm as defined in 18 U.S.C. § 921. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the
defendant pay any such fine or restitution that remains unpaid at the commencement of the term of supervised release
in accordance with the Schedule of Payments set forth in the Criminal Monetary Penalties sheet of this judgment.

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below) . The

defendant shall also comply with the additional conditions on the attached page (if indicated below).
See Special Conditions of Supervision - Page 4

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
five days of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
officer;

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or
other acceptable reasons;

6) the defendant shall notify the probation officer ten days prior to any change in residence or employment,

7) the defendant shall refrain from excessive use of alcohol;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
convicted of a felony unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
without the permission of the court;

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendant's criminal record or personal history or characteristics, and shall permit the probation officer to make such
notifications and to confirm the defendant's compliance with such notification requirement.

Case 7:04-cr-00085-FL Document 121 Filed 03/28/05 Page 3 of 6

 
AO 245B (Rev. 3/95) Sheet 3 - Supervised Release

 

 

Judgment-Page 4 of 6
DEFENDANT: Gary Edward Nixon
CASE NUMBER: 7:04CR00085-001

SPECIAL CONDITIONS OF SUPERVISION

The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation office.
The defendant shall provide the probation office with access to any requested financial information.

The defendant shall consent to a warrantless search by a United States probation officer or, at the request of the probation
officer, any other law enforcement officer, of the defendant's person and premises, including any vehicle, to determine compliance
with the conditions of this judgment.

The defendant shall cooperate in the collection of DNA as directed by the probation officer.

The defendant shall participate as directed in a program approved by the probation office for the treatment of narcotic addiction,
drug dependency, or alcohol dependency which will include urinalysis testing or other drug detection measures and may require
residence or participation in a residential treatment facility.

The defendant shall participate in a program of mental health treatment, as directed by the probation office.

The defendant shall participate in a vocational training program as may be directed by the probation office.

Case 7:04-cr-00085-FL Document 121 Filed 03/28/05 Page 4 of 6

 
AO 245B (Rev. 3/95) Sheet 5, Part A - Criminal Monetary Penalties

 

Jdudgment-Page 5 of 6
DEFENDANT: Gary Edward Nixon

CASE NUMBER: —7:04CR00085-001
CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments set
forth on Sheet 5, Part B.

Assessment Fine Restitution
Totals: 3 100.00 3 $
|] If applicable, restitution amount ordered pursuant to plea agreement............. $
FINE

The above fine includes costs of incarceration and/or supervision in the amount of $ .

The defendant shall pay interest on any fine of more than $2,500, unless the fine is paid in full before the fifteenth day
after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 5, Part B may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

|_| The court determined that the defendant does not have the ability to pay interest and it is ordered that:
[] The interest requirement is waived.

[ } The interest requirement is modified as follows:

RESTITUTION

[| The determination of restitution is deferred in a case brought under Chapters 109A, 110, 110A and 113A of Title 18 for
offenses committed on or after 09/13/1994, until . An Amended Judgment in a Criminal Case

will be entered after such determination.

[| The defendant shall make restitution to the following payees in the amounts listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportional payment unless
specified otherwise in the priority order or percentage payment column below.

Priority Order
** Total Amount of or Percentage
Name of Payee Amount of Loss Restitution Ordered of Payment

Totals: $ $

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AO 2458 (Rev. 3/95) Sheet 5, Part B - Criminal Monetary Penalties

 

Judgment-Page 6 of 6
DEFENDANT: Gary Edward Nixon

CASE NUMBER: _—7:04CR00085-001
SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) assessment; (2) restitution; (3) fine principal; (4) cost of prosecution;
(5) interest; (6) penalties.
Payment of the total fine and other criminal monetary penalties shall be due as follows:
[| See special instructions below

x] $ 100.00 immediately, balance due (in accordance with C, D, or E); or
[_] notlaterthan _____ or

in installments to commence day(s) after the date of this judgment. In the event the entire amount of
criminal monetary penalties imposed is not paid prior to the commencement of supervision, the U.S. probation
officer shall pursue collection of the amount due, and shall request the court to establish a payment schedule if
appropriate; or

00 wD >

 

E [| in (e.g. equal, weekly, monthly, quarterly) installments of $
over a period of year(s) tocommence __————S—SCsédsy(S) afte thee latte of this judgment.

 

The defendant will be credited for all payments previously made toward any criminal monetary penalties imposed.

Special instructions regarding the payment of criminal monetary penalties:

The court in consideration of the undue financial burden a fine would place upon the defendant's dependent, does not imposed a
fine. 18:3572(a)(2). The court does not order restitution, restitution is not an issue - an Order and Judgment of Forfeiture for
$950.00 has been entered as shown below.

[| The defendant shall pay the cost of prosecution.

x) The defendant shall forfeit the defendant's interest in the following property to the United States:

An Order of Forfeiture was filed on 1/10/05 and Judgment on Order of Forfeiture entered on 1/11/05 in the amount of
$950.00 with interest rate of 2.82%.

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of
imprisonment payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary
penalty payments are to be made to the Clerk, U.S. District Court, Attn: Financia! Unit, Post Office Box 25670, Raleigh, NC

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